No.       IP address                          Hit Date                        Infringing Website
      1   2001:470:b07e:0:d83a:a3ff:fe5e:ca   2018‐09‐19 12:27:05.71563+00    yts.ag
      2   216.218.222.14                      2018‐08‐24 14:34:20.29611+00    yts.am
      3   216.218.222.12                      2018‐03‐06 18:11:31.503688+00   yts.gg
      4   65.19.167.130                       2018‐02‐16 17:55:55.294389+00   yts.gg
      5   216.218.222.14                      2018‐02‐16 13:19:46.327169+00   yts.gg
      6   65.19.167.130                       2018‐10‐19 09:16:51.052958+00   yts.am
          Exhibit "3"
